
CARTER, J.
This is an appeal from an order quashing the partial satisfaction of judgment of July 18, 1940, and reinstating the judgment lien made on motion in the above entitled action after the findings of fact and conclusions of law were filed in Sullivan v. Wellborn, ante, p. 214 [195 P.2d 787] this day decided. Mention is there made of such motion and order. Inasmuch as we have determined in Sullivan v. Wellborn, supra, ante, p. 214, that such partial satisfaction is to be expunged because it was the result of a void execution sale, the issue on this appeal becomes moot. (See Smith v. Bear Talley etc. Co., 26 Cal.2d 590 [160 P.2d 1]; Guardianship of Riley, 72 Cal.App.2d 742 [165 P.2d 555] ; Crocker v. Crocker First Nat. Bank, 60 Cal.App.2d 725 [141 P.2d 482]; Crouser v. Boice, 51 Cal.App.2d 198 [124 P.2d 358]; Scoville v. Be Bretteville, 50 Cal.App.2d 633 [123 P.2d 622].) The appeal should be, and therefore is, dismissed.
Gibson, C. J., Shenk, J., Edmonds, J., Traynor, J., Schauer, J., and Spence, J., concurred.
